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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION


 Epic Games, Inc., a Maryland corporation,
                                                      No.
                          Plaintiff,

            v.

 Isaac Strock, an individual,

                          Defendant.


                                            COMPLAINT

       Plaintiff Epic Games, Inc. (“Epic” or “Plaintiff”) brings the following complaint against

Defendant Isaac Strock (“Strock” or “Defendant”):

                                       I.   NATURE OF CASE

       1.        Founded in 1991, Epic is a leader in the interactive entertainment and 3D engine

technology fields. Over the past thirty years, Epic has created some of the most highly acclaimed

and commercially successful video games and immersive digital content and experiences.

       2.        One of Epic’s most famous successes is Fortnite, a vibrant ecosystem full of a

variety of social entertainment experiences, with over 500 million registered players. Fortnite is

a multiplayer online experience where people interact in an online world. Fortnite also includes

thousands of creator-made games across genres, such as adventure, roleplay, survival, and more.

       3.        In order to play Fortnite, each player creates an Epic Games account that tracks

gameplay statistics over time and contains personal information of the account holder. Players can

use the accounts to purchase in-game cosmetic items as well as a Fortnite “Battle Pass,” through

which players can unlock cosmetics as they “level up” their accounts by playing games,

completing quests and challenges, and more. Players can also earn cosmetic items without
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purchasing them either by participating in free events, spending virtual currency earned by

progressing the Battle Pass, or by winning certain tournaments. Cosmetic items have a variety of

effects, from changing the appearance of the player’s character to allowing the character to do a

specific dance, among other things.

         4.    Players collect and take pride in their collections of items in their accounts that they

have obtained or purchased, and those items cannot be transferred between accounts after they are

obtained.

         5.    In addition to unique in-game items, which are earned through effort and resources

invested, players’ accounts contain their personal information. Accordingly, Epic goes to great

lengths to protect these accounts. This includes robust technical mechanisms (such as two-factor

authentication for account access) and a dedicated player support team that Fortnite players can

contact to ensure that if a player loses access to their account, such as when a password is forgotten

or email account is compromised, that player is able to regain access.

         6.    Strock is in the business of stealing access to other players’ Epic Games accounts.

He uses illicit means to discover the players’ usernames and passwords and in some cases even

the login credentials for the players’ email address associated with the players’ Epic Games

account. He then sells access to these accounts to the highest bidders. Strock has sold access to

hundreds of other players’ Epic Games accounts, boasting online about thousands of dollars in

profits. Strock obtains access to these accounts by using fraudulent tactics, such as impersonating

the true account holder to defeat Epic’s account control protections and trick Epic’s player support

team.

         7.    Strock also profits by selling information about Epic Games accounts that belong

to others—such as usernames and IP addresses that are unique to the accounts—so that they can




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steal other players’ Epic Games accounts.

       8.      Through his website, Strock also offered to sell a guide that instructs others on how

to deceive Epic’s player support team in order to fraudulently gain access to other players’

accounts.

       9.      Strock’s actions harm Epic and the Fortnite community. Epic has spent substantial

resources investigating and working to prevent Strock’s conduct. Strock’s conduct also directly

harms Fortnite players who no longer have access to the accounts they spent time and money on.

       10.     As a result of Strock’s egregious conduct and resulting damage to Epic and its

players, Epic brings this action seeking damages and injunctive relief against Strock for (i) fraud;

(ii) tortious interference with Epic’s Fortnite End User License Agreement (the “Fortnite EULA”)

with players whose accounts are stolen; (iii) breach of the Fortnite EULA and the Epic Terms of

Service by Strock himself; (iv) copyright infringement in violation of the Copyright Act, 17 U.S.C.

§§ 106 and 501, et seq.; (v) violation of the Illinois Deceptive Trade Practices Act, 815 ILCS

510/2, et seq.; and (vi) unjust enrichment.

                             II.     JURISDICTION AND VENUE

       11.     This Court has jurisdiction over the subject matter of Epic’s federal claims under

28 U.S.C. §§ 1331 and 1338(a) because this action arises under the Copyright Act, 17 U.S.C.

§§ 106 and 501, et seq. This Court has supplemental jurisdiction over Epic’s related state law

claims under 28 U.S.C. § 1367(a).

       12.     This Court has personal jurisdiction over Strock because Strock is a citizen of

Illinois and resides in Lee County in this District.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a) because

(a) Defendant resides in the Northern District of Illinois, and/or (b) a substantial part of the events




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giving rise to Epic’s claims occurred in the Northern District of Illinois.

                                      III.    THE PARTIES

       14.     Epic is a corporation duly organized and existing under the laws of the state of

Maryland. Epic has its principal place of business in Wake County, North Carolina.

       15.     Isaac Strock is an individual who resides in Dixon, Illinois.

                       IV.     FACTS APPLICABLE TO ALL CLAIMS

A.     Epic and Fortnite

       16.     Founded in 1991, Epic is a Cary, North Carolina-based company and leader in the

interactive entertainment and 3D engine technology fields.

       17.     Epic operates Fortnite, a vibrant ecosystem full of a variety of social entertainment

experiences, with over 500 million registered players. Fortnite was released broadly on July 25,

2017. Fortnite is a multi-player online experience where people interact in an online world.

Fortnite is free to download; however, Fortnite sells in-game items such as outfits for characters.

       18.     Fortnite’s extremely popular play-for-free “Battle Royale” game was released to

the public on September 26, 2017. Fortnite’s Battle Royale involves dropping a maximum of 100

players into a large map where the players battle each other until only one player (or team) remains

standing.

       19.     In order to play Fortnite, players must create an Epic Games account. The account

is solely for that player’s personal use. A player creates an account using their email address and

provides a username and password to log into their account.

       20.     In Fortnite, players can purchase in-game cosmetic items as well as a Fortnite

“Battle Pass,” through which players can unlock cosmetics as they “level up” their accounts by

playing games, completing quests and challenges, and more. Players can also earn cosmetic items

without purchasing them either by participating in free events, spending virtual currency earned


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by progressing the Battle Pass, or by winning certain tournaments.

       21.     Cosmetic items have a variety of effects, from changing the appearance of the

player’s character to allowing the character to do a specific dance, among other things. Some

cosmetic items can only be obtained during special events or timeframes. Once added to a player’s

locker, cosmetic items associated with a player’s account cannot be traded or transferred to other

players.

       22.     Players’ accounts may also store personal and payment information, as well as track

gameplay statistics. Players’ accounts also contain any in-game digital currency purchased by the

player (called “V-bucks”), which can be used to obtain a license to additional in-game content in

Fortnite, among other things.

       23.     Epic Games prohibits the buying and selling of Epic Games accounts and

accordingly there is no legitimate market for Epic Games accounts.

       24.     One reason Epic prohibits the sale or transfer of accounts is to protect the integrity

of the accomplishments and content that Fortnite players obtain with their own accounts. When a

player purchases a Fortnite account from Strock, rather than creating and playing on their own

account, that purchasing player gains access to in-game cosmetics and other items obtained by

participation in special events or timeframes, or completing quests or challenges in Fortnite that

the purchasing player did not earn themselves.            This account purchasing negates the

accomplishments for other players who obtained them legitimately, driving these legitimate

players away from Fortnite.

       25.     Another reason Epic prohibits selling accounts is for the security of Fortnite,

including to prevent cheaters whose accounts have been banned from Fortnite from circumventing

that ban by acquiring a new account.




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B.     Epic’s Efforts to Protect Epic Games accounts

       26.      Epic takes the security of its players’ accounts seriously. Epic constantly develops,

implements, and updates measures designed to protect the accounts of its players, while also

ensuring that players can regain access to their account if they forget a password or if the account

is otherwise compromised. This important balance is achieved in part through a dedicated player

support team, and use of security questions and other information that should be known only by

the account holder.

       27.      In order to play Fortnite, a player must agree to the Fortnite End User License

Agreement (the “Fortnite EULA”). When players download Fortnite, the Fortnite EULA is

displayed on-screen for the players to accept before they can play Fortnite. This is true for

accounts created on all devices and platforms.

       28.      For the governing Fortnite EULA here, the player must affirmatively accept the

agreement by checking a box that reads, “I have read and agree with the End User License

Agreement.” After clicking that box, the person accepting the agreement must confirm a second

time by clicking an “Accept” button before playing. If a player does not complete these steps, the

player will not be able to play Fortnite. A true and correct copy of the Fortnite EULA is attached

as Exhibit 1.

       29.      The Fortnite EULA grants a “personal, non-exclusive, non-transferable, non-

sublicensable limited right and license to install and use” Fortnite, subject to several license

conditions.

       30.      Among other conditions, a Fortnite licensee may not:

                (a)    “use it commercially or for a promotional purpose except as Epic expressly

                       authorizes;”




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               (b)    “sell, rent, lease, license, distribute, or otherwise transfer it;”

               (c)    “use it to infringe or violate the rights of any third party, including but not

                      limited to any intellectual property, publicity, or privacy rights;”

               (d)    “behave in a manner which is detrimental to the enjoyment of [Fortnite] by

                      other users as intended by Epic, in Epic’s sole judgment, including but not

                      limited to… social engineering;” or

               (e)    “transfer, sell, gift, exchange, trade, lease, sublicense, or rent Game

                      Currency or Content except within the Software and as expressly permitted

                      by Epic.”

       31.     Players may also acquire a license to in-game currency or content (for example,

cosmetics). When players earn or pay the fee to obtain the in-game currency or content, players

“obtain[] or purchas[e] from Epic the right to have [their] License [to Fortnite] include such Game

Currency or Content.” This in-game currency and content is subject to the terms of the Fortnite

EULA and access can only be replaced, suspended, canceled, or eliminated by Epic.

       32.     The Fortnite EULA terminates “automatically without notice if you fail to comply

with any of its terms and conditions.” “Upon any termination, the License will automatically

terminate, you may no longer exercise any of the rights granted to you by the License, and you

must destroy all copies of [Fortnite] in your possession.”

       33.     In order to play Fortnite, a player must also agree to the Epic Games Terms of

Service (the “Terms”). A true and correct copy of the Terms is attached as Exhibit 2.

       34.     Among other conditions, the Terms state that players:

               (a)    Are prohibited from “gifting or otherwise transferring…accounts;”

               (b)    Are only “permitted to use the Services for your personal, non-commercial




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                       use only or legitimate business purposes related to your role as a current or

                       prospective customer of Epic;”

                (c)    “must not copy, modify, create derivative works of, publicly display,

                       publicly perform, republish, or transmit any of the material obtained

                       through the Services, or delete, or alter any copyright, trademark, or other

                       proprietary rights notices from copies of materials from the Services;” and

                (d)    “must not reproduce, sell, or exploit for any commercial purposes any part

                       of the Services, access to the Services or use of the Services or any services

                       or materials available through the Services.”

C.     Epic’s Copyrights in Fortnite

       35.      Epic is the author and owner of all rights and title to the copyrights in Fortnite,

including, without limitation, in its computer software and audiovisual works.

       36.      Epic’s relevant copyrights in various versions of Fortnite’s computer code and

audiovisual works are the subjects of U.S. Copyright Registrations listed in the table below.

        Title                   Registration        Registration Date     Nature of Work
                                No.
 Fortnite                       TX 8-766-571        Jan. 31, 2019         Revised computer
                                                                          program
 Fortnite                       TX 8-507-210        Mar. 21, 2018         Revised computer
                                                                          program
 Fortnite                       PA 2-066-544        Sept. 13, 2017        Revised computer
                                                                          program; audiovisual
                                                                          material
 Fortnite                       TX 8-186-254        July 14, 2015         Computer program
 Fortnite                       TX 8-254-659        Mar. 3, 2016          Computer program
 Fortnite                       TXu 1-895-864       Dec. 18, 2013         Computer program
 FORTNITE (2016 Rev. 2)         TX 8-352-178        Dec. 23, 2016         Computer program
 Fortnite – Battle Royale       PA 2-087-919        Mar. 23, 2018         Revised and new
 Mode                                                                     audiovisual material
 Fortnite Battle Royale         TX 9-420-173        July 3, 2024          Computer program;
 Chapter 5 Season 1                                                       audiovisual material
 Fortnite Chapter 4: Season     TX 9-388-536        Apr. 25, 2024         Computer program;



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 OG                                                                        audiovisual
 Fortnite Reload               TX 9-437-406         Sept. 17, 2024         Computer program;
                                                                           audiovisual material
 Fortnite (Rev. 3)             TX 8-508-464         Sept. 8, 2017          Computer program;
                                                                           audiovisual material

       True and correct copies of the certificates of registration for the above-listed copyrights are

attached as Exhibit 3.

D.     Strock’s Unlawful Acts

       37.     Strock has downloaded and played Fortnite, accepting both the Fortnite EULA and

the Terms on multiple occasions.

       38.     Strock operates under aliases online, including “i5aac,” and via multiple

marketplaces through which he sells unauthorized access to other players’ Epic Games accounts.

       39.     Strock takes control of other players’ Epic Games accounts through fraud. Strock

contacts Epic’s player support team and pretends to be the account holder of the account he is

trying to steal. On information and belief, Strock provides sufficient information to deceive Epic’s

player support into providing him access to the account.

       40.     Epic has caught Strock attempting to deceive its player support team at least four

times: on December 21, 2022, June 16, 2023, and twice on June 18, 2023. Each time, Strock

contacted Epic player support attempting to take control of or change the email address associated

with Epic Games accounts that did not belong to him.

       41.     For example, on June 16, 2023, Strock contacted Epic’s player support team and

asked them if they could change the email on “my account,” when he was actually referring to

another player’s Epic Games account. He tried to deceive Epic’s player support by providing

information that only the true account holder ordinarily has, such as the username associated with

the Epic Games account, any platforms that account is linked to (e.g., PC, Xbox, and PlayStation),




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and the platform usernames associated with the account. Strock executed a similar scheme during

each of the other instances referenced above.

       42.     On information and belief, Strock has successfully used schemes similar to the one

described above to obtain access to players’ Epic Games accounts through fraud.

       43.     Another method of gaining access to players’ accounts is to find email address and

password combinations for other, non-Epic-related accounts on the Internet (e.g., via dark web

searches or data breaches), and attempt to log into Epic’s services with those credentials.

       44.     Once Strock wrongfully gains access to another player’s Epic Games account, he

sells it through an online message board or “channel” on the Telegram platform at

www.t.me/s/overdraft. The Epic Games accounts that have valuable Fortnite in-game currency

and cosmetics command the highest price, often for hundreds or over one thousand dollars each.

Strock has listed hundreds of accounts for sale through this channel.

       45.     The Epic Games account listings include details about the account, including the

current purchase price, the amount of in-game Fortnite currency associated with the account, and

screenshots of the notable or rare cosmetic items that the prior account holder had obtained on the

account.

       46.     For example, on September 12, 2024, Strock posted the following listing for an

Epic Games account with 146 skins and 30 V-Bucks on the t.me/overdraft channel, with a price

of $350.




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       47.     Even though Strock did not create this account and was not the true account holder,

Strock’s home IP address was observed on that Epic Games account the same day the listing was

posted, when he attempted to log into the account with the true account holder’s credentials and

initiated multi-factor authentication requests. On information and belief, Strock was testing the

credentials for the Epic Games account to confirm that they were correct before he listed the

account for sale.

       48.     On September 13, 2024, Strock sold the above-referenced account for

approximately $425 worth of Bitcoin.

       49.     After the payment, Strock sent an email and password that he illicitly acquired for

the Epic Games account, and the password for the Outlook email account associated with the true

account holder’s Epic Games account.




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       50.     Whenever Strock stole access to another player’s Epic Games account and sold it,

the rightful account holder lost access to their account and any in-game currency or content they

had purchased or otherwise obtained in Fortnite.

       51.     As a result of Strock’s deception of Epic, Strock interfered with the rightful account

holder’s license with Epic to the in-game currency and content associated with the account,

effectively preventing the rightful account holder from accessing that licensed content.

       52.     In addition to selling accounts, Strock also operates a different Telegram channel

at www.t.me/buttdial, where third parties can post Epic Games accounts for sale. He advertises

that he sells special administrative privileges in the channel for $15.

       53.     Strock also operates a website at www.i5aac.com, which redirects to

www.i5aac.mysellix.io. Strock’s website states that it has been open since January 2024 and that

he has sold 482 “products,” which consist of other Fortnite players’ Epic Games account

information that his customers can use to deceive Epic in order to steal control of those accounts.

These “products” include the email addresses, IP addresses, and/or geolocations associated with a

particular Epic Games account.

       54.     Strock sells this account information for his buyers to use alongside any other

information the buyer can gather, in order to deceive or “social engineer” Epic player support and

get access to the underlying account.

       55.     Strock produced and offered for sale a guide that provided instructions on how to

use social engineering tactics to trick Epic’s player support team in order to fraudulently acquire

Epic Games accounts that belong to other players.

       56.     Through his conduct, Strock has committed fraud, intentionally interfered with

Epic’s contracts with Fortnite players, breached his agreements with Epic, and infringed Epic’s




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copyrights.

        57.         Strock breached the Fortnite EULA and the Terms by wrongfully accessing and

selling access to other players’ Epic Games accounts, including through fraudulent representations

to Epic and its player support team.

        58.         As a result of this breach, the Fortnite EULA between Epic and Strock

automatically terminated and he was required to destroy all copies of Fortnite in his possession.

        59.         Strock did not destroy his copies of Fortnite, and instead continues to download

and access Fortnite, including through accounts to which he has stolen access. Strock has therefore

infringed Epic’s copyrights by continuing to use unlicensed copies of Fortnite after his Fortnite

EULA with Epic terminated.

        60.         Strock has personally gained access to and has otherwise facilitated the sale of Epic

Games accounts that do not belong to him, depriving the accounts’ true holders of in-game

currency, content, and other achievements in the accounts that they earned or purchased.

        61.         Because he has accepted the Fortnite EULA and the Terms, Strock knows that these

contracts include a license to the Fortnite in-game currency and content that the rightful account

holder has obtained, and that by stealing the accounts he is interfering with that license.

        62.         Strock further knows that his interference with Epic’s contracts with these players

is not justified.

        63.         Strock’s conduct has caused significant harm and loss to Epic and the Fortnite

community.

        64.         Epic has expended significant resources investigating and combatting Strock’s

fraud and account sales, including but not limited to developing guidelines and measures for its

player support team to implement to avoid Strock’s fraudulent schemes, and identifying and




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investigating instances of Strock’s account theft.

       65.     Strock’s wrongful conduct damages Epic’s goodwill with the Fortnite community.

                                              COUNT I
                                               Fraud

       66.     Epic realleges and incorporates fully by reference the allegations in Paragraphs 1

through 65 of this complaint, as if set forth fully herein.

       67.     In order to steal access to Epic Games accounts that do not belong to him, Strock

falsely represented to Epic’s player support team that he was the account holder and by using log

in credentials for accounts that do not belong to him, including at least on September 12, 2024.

       68.     Strock made these representations knowing that they were false.

       69.     Strock made these representations with the intent to induce Epic into providing

Strock access to other players’ accounts.

       70.     Epic reasonably and justifiably relied on Strock’s false statements because Strock

presented Epic with information about the accounts that Epic would reasonably expect that only

the true account holder would know.

       71.     As a result of Epic’s reliance on Strock’s misrepresentations, Epic has suffered

damage to its goodwill and lost resources, such as the monetary and personnel resources associated

with investigating and redressing Strock’s fraudulent activities, which Epic would not have been

forced to expend but for Strock’s misrepresentations.

       72.     Epic is entitled to all remedies available at law or equity, including injunctive relief,

compensatory damages and/or other equitable or monetary remedies.

                                           COUNT II
                              Tortious Interference with a Contract

       73.     Epic realleges and incorporates fully by reference the allegations in Paragraphs 1

through 72 of this complaint, as if set forth fully herein.


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       74.     In order to play Fortnite, a player must agree to the Fortnite EULA. The Fortnite

EULA grants a “personal, non-exclusive, non-transferable, non-sublicensable limited right and

license to install and use” Fortnite, subject to several license conditions.

       75.     Players may also acquire a license to in-game currency or content. When players

earn or pay the fee to obtain the in-game currency or content, players “obtain[] or purchas[e] from

Epic the right to have their License [to Fortnite] include such Game Currency or Content.”

       76.     Strock knows that players must agree to the Fortnite EULA before downloading,

playing, or otherwise accessing Fortnite.

       77.     Strock has intentionally induced non-performance of the Fortnite EULA between

Epic and the true account holders of the accounts that Strock stole access to by inducing Epic to

grant Strock access to these Epic Games accounts and depriving the true account holders of their

accounts and associated in-game content and currency, interfering with the true account holders’

license to the content.

       78.     Strock’s interference was not justified.

       79.     As a result of Strock’s interference, the Fortnite EULA between Epic and the true

account holders of the accounts that Strock stole access to was breached.

       80.     Strock has intentionally interfered, and will continue to interfere, with the contracts

formed between Epic and the true account holders of the accounts that Strock stole.

       81.     As a result of Strock’s actions, Epic has suffered damages in an amount to be proven

at trial including, but not limited to, loss of goodwill among users of Epic’s services, decreased

profits, and the costs of investigating and redressing Strock’s conduct.

       82.     As a direct result of Strock’s actions, Epic has sustained, and will continue to

sustain, substantial, immediate, and irreparable harm for which there is no adequate remedy at law.




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Epic is entitled to injunctive relief to restrain and enjoin Strock’s continuing unlawful conduct.

       83.     Epic is further entitled to compensatory damages and any other available relief the

Court deems just.

                                           COUNT III
                                        Breach of Contract

       84.     Epic realleges and incorporates fully by reference the allegations in paragraphs 1

through 83 of this complaint, as if set forth fully herein.

       85.     In order to play Fortnite, a player must agree to the Fortnite EULA. The Fortnite

EULA grants a “personal, non-exclusive, non-transferable, non-sublicensable limited right and

license to install and use” Fortnite, subject to several license conditions.

       86.     Among other conditions, a Fortnite licensee may not:

               (a)     “use it commercially or for a promotional purpose except as Epic expressly

                       authorizes;”

               (b)     “sell, rent, lease, license, distribute, or otherwise transfer it;”

               (c)     “use it to infringe or violate the rights of any third party, including but not

                       limited to any intellectual property, publicity, or privacy rights;”

               (d)     “behave in a manner which is detrimental to the enjoyment of [Fortnite] by

                       other users as intended by Epic, in Epic’s sole judgment, including but not

                       limited to… social engineering;” or

               (e)     “transfer, sell, gift, exchange, trade, lease, sublicense, or rent Game

                       Currency or Content except within the Software and as expressly permitted

                       by Epic.”

       87.     In order to play Fortnite, a player must also agree to the Terms. Among other

conditions, the Terms state that players:



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                  (a)    Are only “permitted to use the Services for your personal, non-commercial

                         use only or legitimate business purposes related to your role as a current or

                         prospective customer of Epic;”

                  (b)    “must not copy, modify, create derivative works of, publicly display,

                         publicly perform, republish, or transmit any of the material obtained

                         through the Services, or delete, or alter any copyright, trademark, or other

                         proprietary rights notices from copies of materials from the Services;” and

                  (c)    “must not reproduce, sell, or exploit for any commercial purposes any part

                         of the Services, access to the Services or use of the Services or any services

                         or materials available through the Services.”

            88.   Strock accepted and agreed to the Fortnite EULA and Terms. In exchange, Epic

granted him access to Fortnite.

            89.   The agreement between Strock and Epic is binding and valid.

            90.   Through the conduct alleged herein, Strock breached his agreements with Epic by

fraudulently accessing other players’ accounts, and by buying and selling player accounts.

            91.   As a result of Strock’s actions, Epic has suffered damages in an amount to be proven

at trial.

                                             COUNT IV
                                       Copyright Infringement
                                    (17 U.S.C. §§ 106, 501 et seq.)

            92.   Epic realleges and incorporates fully by reference the allegations in Paragraphs 1

through 91 of this complaint, as if set forth fully herein.

            93.   Epic owns multiple valid, registered, and enforceable copyrights in Fortnite.

            94.   These copyrights are depicted in the copyright registration certificates referenced




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above and set out in Exhibit 1.

       95.     In order to play Fortnite, a player must agree to the Fortnite EULA. The Fortnite

EULA grants a “personal, non-exclusive, non-transferable, non-sublicensable limited right and

license to install and use” Fortnite, subject to several license conditions.

       96.     The Fortnite EULA terminates “automatically without notice if you fail to comply

with any of its terms and conditions.” “Upon any termination, the License will automatically

terminate, you may no longer exercise any of the rights granted to you by the License, and you

must destroy all copies of [Fortnite] in your possession.”

       97.     Strock breached the Fortnite EULA when he stole and sold Epic Games accounts.

       98.     After breaching the Fortnite EULA, Strock’s license to download, play, and

otherwise access Fortnite automatically terminated. Strock nonetheless continued to access

Fortnite in violation of his agreement with Epic, and thus infringed Epic’s copyrights.

       99.     As a result of Strock’s infringement, Epic has suffered damages, including lost sales

and profits.

       100.    Epic is also entitled to receive any additional profits made by Strock in connection

with his infringement.

       101.    Alternatively, Epic is entitled to statutory damages pursuant to 17 U.S.C. § 504(c).

                                            COUNT V
                     Violation of the Illinois Deceptive Trade Practices Act
                                    (815 ILCS 510/2, et seq.)

       102.    Epic realleges and incorporates fully by reference the allegations in paragraphs 1

through 101 of this complaint, as if set forth fully herein.

       103.    Strock used deception, fraud, false pretense, false promise, misrepresentation,

and/or the concealment, suppression, or omission of a material fact in order to take control of other




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players’ Epic Games accounts.

          104.   Strock intended that Epic would rely on such deception or omission of material

fact.

          105.   Strock’s deception of Epic occurred in the course of conduct involving trade or

commerce.

          106.   As a result of Strock’s actions, Epic has sustained, and will continue to sustain,

substantial, immediate, and irreparable harm for which there is no adequate remedy at law. Epic

is entitled to injunctive relief to restrain and enjoin Strock’s continuing unlawful conduct.

                                             COUNT VI
                                          Unjust Enrichment

          107.   Epic realleges and incorporates fully by reference the allegations in paragraphs 1

through 106 of this complaint, as if set forth fully herein.

          108.   As a result of Strock’s fraudulent acquisition and subsequent sale of Epic Games

accounts that did not belong to him, Strock unjustly retained benefits to Epic’s detriment.

          109.   Strock’s retention of the benefits from his sale of stolen Epic Games accounts

violates fundamental principles of justice, equity, and good conscience.

          110.   Epic is entitled to all remedies available at law or equity, including injunctive relief,

compensatory damages, and/or other equitable or monetary remedies.

                                   V.      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Epic Games, Inc. prays for the following relief:

          A.     That judgment be entered in Epic’s favor against Strock on all claims.

          B.     That Strock and his officers, agents, representatives, servants, employees, heirs,

successors, and assigns, and all others in active concert or participation with Strock be permanently

enjoined from:



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               1)      Buying, selling, or fraudulently accessing Epic Games accounts;

               2)      Inducing, contributing, or enabling others to buy, sell, or fraudulently access

                       Epic Games accounts;

               3)      Infringing, or inducing, contributing, or enabling others to infringe Epic’s

                       copyrights;

               4)      Downloading, installing, possessing, and/or using any of Epic’s

                       copyrighted works, including but not limited to Fortnite; and

               5)      Aiding or assisting another person or entity in any of the activities described

                       in (1)-(4) above.

       C.      An award to Epic of all damages permitted by law, including its costs incurred in

this suit as well as reasonable attorneys’ fees.

       D.      Other such relief as the Court deems just and proper.



 Dated: February 27, 2025

                                                   By: /s/ Jeremy L. Buxbaum

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